                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA


Gregory Ashley Moyer,                                      Case No. 23-cv-138 (JWB/LIB)

                        Plaintiff,

       v.                                                         ORDER

Shon Jackson, et al.,

                        Defendants.


       This matter comes before the undersigned United States Magistrate Judge pursuant to a

general assignment made in accordance with 28 U.S.C. § 636 and upon Defendants’ Motions.

       On May 22, 2023, Defendants filed a Motion to Stay Discovery, [Docket No. 43]; a

Motion for Miscellaneous Relief, [Docket No. 49]; and various documents in support of these

two Motions. Oral arguments on Defendants’ Motions are scheduled to be heard before the

undersigned on June 14, 2023. Plaintiff has not yet responded to either of Defendants’ Motions.

       Therefore, the Court establishes the following briefing schedule, and IT IS HEREBY

ORDERED THAT as soon as practicable and in any event by no later than Thursday, June 1,

2023, Plaintiff shall file and serve his responses to Defendants’ Motion to Stay Discovery,

[Docket No. 43], and Defendants’ Motion for Miscellaneous Relief. [Docket No. 49].




Dated: May 23, 2023                                        s/Leo I. Brisbois
                                                           Hon. Leo I. Brisbois
                                                           U.S. MAGISTRATE JUDGE
